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                IN THE DISTRICT COURT OF OKLAHOMA COUNTY
                            STATE OF OKLAHOMA

JANA M. TURK,                        )
                                     )
       Plaintiff,                    )
                                     )
v.                                   )             Case No. CJ-2017-1922
                                     )
LYNN MARLENE FREEMAN, an Individual, )
and DOWELL TRANSPORT, INC.,          )
an Arkansas Corporation,             )
                                     )
       Defendants.                   )

                    DEFEFENDANT DOWELL TRANSPORT, INC.’S
                    SUGGESTION OF DEATH UPON THE RECORD

   Defendant Dowell Transport, Inc. suggests upon the record, in accordance with OKLA. STAT. tit.

12, § 2025(A), the death of Defendant Lynn Marlene Freeman during the pendency of this action.

                                                   Respectfully submitted,


                                                   ____________________________________
                                                   Dan K. Jones, OBA # 16940
                                                   Mehry Taremi, OBA # 31726
                                                   MILLS & JONES, PLLC
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                                                   Attorneys for Defendant
                                                   Dowell Transport, Inc.




                                                                                       Exhibit
                                                                                                    exhibitsticker.com




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                               CERTIFICATE OF SERVICE

   I certify that on June 7, 2017 a true and correct copy of Defendant Dowell Transport, Inc.’s
Suggestion of Death Upon the Record was emailed and sent Certified Mail, Return Receipt
Requested via the U.S. Postal Service, with postage fully pre-paid to the following:

   G. Robert Carpenter, Esq.
   bcarpenter4law@gmail.com
   5030 N. May Avenue, Suite 144
   Oklahoma City, Oklahoma 73112
   Attorneys for Plaintiff

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